 Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 1 of 21 Page ID #:236



 1 John T. Egley, Bar No. 232545
    jegley@calljensen.com
 2 Scott P. Shaw, Bar No 223592
 3 sshaw@calljensen.com
   W. Christopher Dalton, Bar No. 267697
 4 cdalton@calljensen.com
   CALL & JENSEN
 5 A Professional Corporation
 6 610 Newport Center Drive, Suite 700
   Newport Beach, CA 92660
 7 Tel: (949) 717-3000
   Fax: (949) 717-3100
 8
   Attorneys for Defendants Burlington Coat Factory
 9 Direct Corporation and Meetu Magic, Inc.
10
11                                 UNITED STATES DISTRICT COURT
12                                CENTRAL DISTRICT OF CALIFORNIA
13
14 STAR FABRICS, INC., a California               Case No. 2:16-cv-02685-PA (FFMx)
   Corporation,
15                                                DEFENDANTS’ NOTICE OF
                Plaintiff,                        MOTION, MOTION TO DISMISS
16                                                FOR FAILURE TO PROSECUTE
17              vs.                               AND MOTION FOR SUMMARY
                                                  JUDGMENT; MEMORANDUM OF
18 BURLINGTON COAT FACTORY                        POINTS AND AUTHORITIES IN
   DIRECT CORPORATION, a Delaware                 SUPPORT THEREOF
19 Corporation; MEETU MAGIC, INC., a
20 New York Corporation; and DOES 1
   through 10,                                    Date: March 13, 2017
21                                                Time: 1:30 p.m.
               Defendants.                        Crtrm: 9A
22
23                                                Complaint Filed: April 19, 2016
24                                                Trial Date:      April 18, 2017
25
26
27
28
     MEE01-18:1883451_1:2-13-17
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 2 of 21 Page ID #:237



1                                                  TABLE OF CONTENTS
2                                                                                                                                   Page
3 I.          INTRODUCTION ................................................................................................... 3
4 II.         FACTUAL BACKGROUND .................................................................................. 4
5 III.        LEGAL STANDARD .............................................................................................. 7
6
              A.       Dismissal for Failure to Prosecute is Proper where Plaintiff
7                      Cannot Demonstrate with Evidence that a Trier of Fact
                       should Find in its Favor. .................................................................................. 7
8
              B.       Summary Judgment is Proper Where No Evidence Supports
9                      the Nonmoving Party’s Claims. ...................................................................... 8
10            C.       Evidence Not Produced in Discovery is Inadmissible. ................................. 10
11
     IV.      DISCUSSION ......................................................................................................... 10
12
              A.       Legal Standard Governing Copyright Infringement
13                     Claims ........................................................................................................... 10
14            B.       Plaintiff Cannot Meet its Burden of Proof. ................................................... 11
15                     1.         Plaintiff failed to provide evidence that it is the author
16                                or owner of the Subject Design during the discovery
                                  period................................................................................................... 12
17
                       2.         Plaintiff has provided no evidence that the Defendants
18                                had access to the Subject Design. ....................................................... 13
19                     3.         Denying this motion would prejudice Defendants. ............................ 15
20 V.         CONCLUSION ...................................................................................................... 15
21
22
23
24
25
26
27
28
     MEE01-18:1883451_1:2-13-17                  -i-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 3 of 21 Page ID #:238



 1                                            TABLE OF AUTHORITIES
 2                                                                                                                       Page(s)
 3                                                    FEDERAL CASES
 4 Ash v. Cvetkov,
 5      739 F.2d 493 (9th Cir. 1984)......................................................................................... 7
 6 Beyene v. Coleman Sec. Servs., Inc.,
 7      854 F.2d 1179 (9th Cir.1988) ..................................................................................... 10
 8 Celotex Corp. v. Catrett,
 9      477 U.S. (1986) ................................................................................................... 7, 8, 11
10 Feist Publications, Inc. v. Rural Tel. Serv. Co.,
11      499 U.S. 340 (1991) .................................................................................................... 10
12 Giddings v. Vision House Production, Inc.,
13      584 F.Supp.2d 1222 (D. Ariz. 2008) .......................................................................... 10
14 Henderson v. Duncan,
15      779 F.2d 1421 (9th Cir. 1986) ...................................................................................... 7
16 Hernandez v. Spacelabs Med. Inc.,
17      343 F.3d 1107 (9th Cir.2003) ....................................................................................... 7
18 Hoffman v. Constr. Protective Servs., Inc.,
19      541 F.3d 1175 (9th Cir.2008) ................................................................................. 8, 10
20 In re Oracle Corp. Sec. Litig.,
21      627 F.3d 376 (9th Cir. 2010)......................................................................................... 9
22 Intel Corp. v. Hartford Accident & Indem. Co.,
23      952 F.2d 1551 (9th Cir.1991) ....................................................................................... 7
24 James River Ins. Co. v. Herbert Schenk, P.C.,
25      523 F.3d 915 (9th Cir.2008).......................................................................................... 7
26 Jason v. Fonda,
27      698 F.2d 966 (9th Cir.1982)........................................................................................ 11
28
     MEE01-18:1883451_1:2-13-17                 - ii -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 4 of 21 Page ID #:239



 1                                      TABLE OF AUTHORITIES (con’t)
 2                                                                                                                      Page(s)
 3 Lewis v. Casey,
 4      518 U.S. 343 (1996) .................................................................................................... 10
 5 Narell v. Freeman,
 6      872 F.2d 907 (9th Cir.1989)........................................................................................ 11
 7 Nealey v. Transportation Maritima Mexicana, S.A.,
 8      662 F.2d (9th Cir. 1980)............................................................................................... 7
 9 Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc.,
10      210 F.3d 1099 (9th Cir.2000) ....................................................................................... 7
11 Orr v. Bank of Am., NT & SA,
12      285 F.3d 764 (9th Cir.2002).................................................................................. 10, 12
13 Ortiz–Lopez v. Sociedad Espanola de Auxilio Mutuo Y Beneficiencia de Puerto Rico,
14      248 F.3d 29 (1st Cir.2001) ............................................................................................ 8
15 R & R Sails, Inc. v. Ins. Co. of Penn.,
16      673 F.3d 1240 (9th Cir.2012) ....................................................................................... 8
17 Soremekun v. Thrifty Payless, Inc.,
18      509 F.3d 978 (9th Cir. 2007)......................................................................................... 7
19 Three Boys Music Corp. v. Bolton,
20      212 F.3d 477 (9th Cir. 2000)....................................................................................... 11
21 Torres v. City of L.A.,
22      548 F.3d 1197 (9th Cir.2008) ....................................................................................... 8
23 Triton Energy Corp. v. Square D Co.,
24      68 F.3d 1216 (9th Cir.1995).......................................................................................... 8
25 United Fabrics Int’l, Inc. v. C&J Wear, Inc.,
26      630 F.3d 1255 (9th Cir. 2011) .................................................................................... 12
27 Yeti by Molly Ltd. v. Deckers Outdoor Corp.,
28      259 F.3d 1101 (9th Cir.2001) ................................................................................. 8, 10
     MEE01-18:1883451_1:2-13-17                 - iii -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 5 of 21 Page ID #:240



 1                                       TABLE OF AUTHORITIES (con’t)
 2                                                                                                                       Page(s)
 3                                                 FEDERAL STATUTES
 4 17 U.S.C. § 501(b) .......................................................................................................... 10
 5                                                     FEDERAL RULES
 6 Fed.R.Civ.P. 37 ........................................................................................................... 8, 10
 7 Fed. R. Civ. P. 56(a).................................................................................................... 8, 11
 8 Fed.R.Civ.P. 56(e)........................................................................................................... 10
 9                                                 OTHER AUTHORITIES
10 Ninth Circuit Model Jury Instructions 17.4 .................................................................... 12
11 Ninth Circuit Model Jury Instructions 17.16 .................................................................. 13
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      MEE01-18:1883451_1:2-13-17                 - iv -
        DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
         FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 6 of 21 Page ID #:241



 1            TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that, on March 13, 2017, at 1:30 p.m. or as soon
 3 thereafter as the matter may be heard in the above-entitled court, before the Honorable
 4 Percy Anderson, in Courtroom 9A, located at 350 W. 1st Street, Los Angeles,
 5 California 90012, Defendants Burlington Coat Factory Direct Corporation and Meetu
 6 Magic, Inc., (collectively “Defendants”) will and hereby do move the Court, pursuant to
 7 Federal Rules of Civil Procedure 56, for summary judgment as to Plaintiff Star Fabrics,
 8 Inc.’s (“Star Fabrics” or “Plaintiff”) Complaint and motion to dismiss for failure to
 9 prosecute.
10            GROUNDS FOR MOTION: This motion is made on the grounds that Plaintiff
11 has failed to comply with the Copyright Act and has failed to prove infringement as a
12 matter of law. Therefore, Plaintiff does not have a valid copyright, cannot prove
13 copying, and has no standing to bring this alleged infringement action.
14            Plaintiff has failed to comply with the statutory registration requirements that
15 apply to a collective work. Accordingly, Plaintiff does not have a valid copyright
16 registration for the works it claims were infringed.
17            Additionally, Plaintiff has failed to apply for copyright registration of the
18 purported “Subject Designs.” As a result, JC Penney cannot be held liable for copyright
19 infringement.
20            BASIS OF MOTION:         This motion is based on this Notice of Motion and
21 Motion, the Points and Authorities submitted herein, the declarations submitted
22 concurrently with this Motion, and such further arguments and papers that may be
23 presented to the Court before or during the hearing.
24            MEET AND CONFER CERTIFICATION: Prior to the filing of this Motion,
25 counsel for Defendants fully met and conferred with counsel for Plaintiff regarding this
26 Motion. Counsel for both parties agreed to file the respective Motions for Summary
27 Judgment/Summary Adjudication on February 13, 2017 – for a hearing date on March
28 13, 2017. Plaintiff’s counsel violated the agreement by filing Plaintiff’s Motion for
     MEE01-18:1883451_1:2-13-17                  -1-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 7 of 21 Page ID #:242



1 Summary Adjudication one week earlier, and noticing a hearing date of March 13,
2 2017. As Plaintiff’s counsel has breached the agreement, Defendants request that the
3 Court enforce the parties’ agreement and set both motions for hearing on the same day,
4 March 13, 2017.
5
6 Dated: February 13, 2017                 CALL & JENSEN
                                           A Professional Corporation
7                                          John T. Egley
                                           Scott P. Shaw
8                                          W. Christopher Dalton
9
10                                         By: /s/ W. Christopher Dalton
                                               W. Christopher Dalton
11
                                           Attorneys for Defendants Burlington Coat
12                                         Factory Direct Corporation and Meetu Magic,
                                           Inc.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     MEE01-18:1883451_1:2-13-17                  -2-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 8 of 21 Page ID #:243



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.         INTRODUCTION
 3            This action cannot proceed.      Plaintiff Star Fabrics, Inc. alleges copyright
 4 infringement, but it failed to provide evidence supporting the central elements of its
 5 claim.        Defendants requested documents and information in written discovery to
 6 determine the basis for Plaintiff’s assertions that it owns the design at issue (the
 7 “Subject Design”), that it holds a valid registration for the Subject Design, that
 8 Defendants had access to and copied the Subject Design, that the Subject Design is
 9 substantially similar to the allegedly infringing garments, and that Plaintiff suffered
10 damages from the alleged infringement. Plaintiff bears the burden to prove all of these
11 elements, but it produced no documents during discovery as evidence for any of them.
12 Defendants also sought to take the deposition of Plaintiff’s person most knowledgeable
13 about the key issues in the case, but again, Plaintiff cancelled the deposition and never
14 produced a witness to testify, thereby providing no testimonial evidence for its claims.
15            The federal rules prohibit a party from introducing any evidence at trial that it
16 failed to produce in discovery. Because Plaintiff produced no evidence in discovery,
17 and since the Court at the summary judgment stage may only consider evidence that is
18 admissible at trial, Plaintiff can produce no evidence at this stage to prove that there is a
19 dispute of material fact requiring summary judgment to be denied.
20            This is a case filed by a copyright troll whose business is premised on filing
21 baseless infringement claims and pressuring defendants to settle in order to avoid the
22 high costs and business losses incurred during lengthy litigation. As Plaintiff’s failure
23 to provide any evidence supporting its claims shows, the case has no merit. Plaintiff
24 has failed to provide any evidence as proof of infringement as a matter of law, and
25 summary judgment should therefore be granted.
26 / / /
27 / / /
28 / / /
     MEE01-18:1883451_1:2-13-17                  -3-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 9 of 21 Page ID #:244



1 II.         FACTUAL BACKGROUND
2             In 2010, Defendant Meetu Magic obtained a design from Datta Arts Design
3 Studio in India; the design is titled “DR06-Q DATTA ARTS DESIGN STUDIO.”
4 (Declaration of Gurdev Singh (“Singh Decl.”) ¶ 2.) Meetu later adapted the DR06-Q
5 design and had it printed on a dress to be sold to retailers. (Singh Decl. ¶ 3.) Meetu
6 obtained a copyright for the design in December 2014, under Registration Number VAu
7 1-249-714. (Singh Decl. ¶ 4, Exhibit 1.) An image of the dress bearing the DR06-Q
8 design is below:
9
10
11
12
13
14
15
16
17
18
19
20
21
     (Singh Decl. ¶ 4.)
22
              Plaintiff Star Fabrics filed its Complaint in this matter alleging that it owns an
23
     original design entitled Design No. 62634 (the “Subject Design”), that the Subject
24
     Design has been registered with the United States Copyright Office, and that
25
     Defendants have infringed the Subject Design. In support of its infringement claim,
26
     Star Fabrics included in its Complaint only the following images:
27
28
     MEE01-18:1883451_1:2-13-17                  -4-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 10 of 21 Page ID #:245



 1             “Subject Design”                  Allegedly Infringing Design
 2
 3
 4
 5
 6
 7            On November 16, 2016, Defendants served discovery requests asking Plaintiff to
 8 provide all documents and information supporting its claims.             More specifically,
 9 Defendants requested, for example, all documents and information relating to the
10 creation of the Subject Design, relating to Plaintiff’s effort to register the copyright for
11 the Subject Design, relating to the transfer of the Subject Design’s (or related source
12 artwork’s) copyright(s), and supporting Plaintiff’s claim for monetary relief.
13 (Declaration of W. Christopher Dalton (“Dalton Decl.”) ¶ 6, Ex. 1.)
14            Plaintiff responded on December 16, 2016, stating that it “has and will conduct a
15 reasonable investigation and produce all discovered nonprivileged responsive
16 documents in its possession, custody, or control” for each of Defendants’ requests.
17 (Dalton Decl. ¶ 7, Ex. 2.) No documents were produced at the time the responses were
18 served or at any time during the discovery period.
19            Moreover, Defendants on January 20, 2017 noticed the deposition of Plaintiff’s
20 person most qualified to testify regarding the central elements of Plaintiff’s
21 infringement claim in order to obtain testimonial evidence regarding Plaintiff’s
22 allegations of infringement. The deposition was to be held on January 30. (Dalton
23 Decl. ¶ 8, Ex. 3.) But on Friday January 27, the last business day before the deposition
24 was to be taken, Plaintiff cancelled the deposition.           Defense counsel requested
25 alternative dates for the deposition, which Plaintiff’s counsel said he would provide.
26 (Dalton Decl. ¶ 9.) But Plaintiff’s counsel failed to provide an alternative date for the
27 deposition, and discovery is now closed. (Id.)
28
     MEE01-18:1883451_1:2-13-17                  -5-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 11 of 21 Page ID #:246



 1            Also on January 27, Defendants’ counsel met and conferred with Plaintiff’s
 2 counsel to request the documents that Plaintiff stated in its discovery responses would
 3 be produced. Plaintiff’s counsel stated that the requested documents would be produced
 4 by close of business on January 31, 2017. (Dalton Decl. ¶ 10, Ex. 4.) But again,
 5 Plaintiff failed to provide any documents during the discovery period. (Dalton Decl. ¶
 6 11.) Plaintiff has thus deprived Defendants the opportunity to obtain and review both
 7 the documents and the testimony Defendants have requested, rendering Defendants
 8 incapable of mounting a proper defense to Plaintiff’s claims.
 9            Plaintiff provided only a series of images of a dress that it says bear the Subject
10 Design. One such photograph is below, on the left. The image on the right is, again,
11 Meetu Magic’s image of the allegedly infringing dress bearing Meetu Magic’s
12 adaptation of the DR06-Q design, which Plaintiff alleges infringes the Subject Design.
13
14            “Subject Design”           Allegedly Infringing Design
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     MEE01-18:1883451_1:2-13-17                  -6-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 12 of 21 Page ID #:247



 1            As these images demonstrate, although the two designs contain similar elements,
 2 the arrangement of those elements is significantly different. And because the DR06-Q
 3 desing was obtained from India, Meetu had no reason to believe that a United States
 4 copyright existed for the print design on its garment at the time it purchased the design.
 5
 6 III.       LEGAL STANDARD
 7            A.       Dismissal for Failure to Prosecute is Proper where Plaintiff Cannot
 8                     Demonstrate with Evidence that a Trier of Fact should Find in its
 9                     Favor.
10            The Court has authority to dismiss for lack of prosecution due to Plaintiff’s
11 repeated failures to comply with the FRCP, Local Rules, and unreasonable delay. See,
12 e.g., Henderson v. Duncan, 779 F.2d 1421 (9th Cir. 1986) (dismissal for lack of
13 prosecution due to failure to comply with local rule); Nealey v. Transportation
14 Maritima Mexicana, S.A., 662 F.2d 1280 (9th Cir. 1980) (unreasonable delay creates
15 injury to the defense and is grounds for dismissal for lack of prosecution); Ash v.
16 Cvetkov, 739 F.2d 493, 496 (9th Cir. 1984) (court has inherent power to dismiss for lack
17 of prosecution).
18            Moreover, the Court can dismiss and enter judgment where the moving party
19 cannot affirmatively demonstrate with evidence that a reasonable trier of fact could find
20 in favor of the movant. Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir.
21 2007). Where the moving party establishes the absence of evidence, the Court should
22 enter judgment in favor of the moving party. See James River Ins. Co. v. Herbert
23 Schenk, P.C., 523 F.3d 915, 923 (9th Cir.2008); Soremekun, 509 F.3d at 984 (citing
24 Celotex Corp. v. Catrett, 477 U.S. at 323 (1986)). See also Nissan Fire & Marine Ins.
25 Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir.2000). The nonmoving party
26 cannot rely merely on allegations in the Complaint. Hernandez v. Spacelabs Med. Inc.,
27 343 F.3d 1107, 1112 (9th Cir.2003). The nonmoving party must present significant and
28 probative evidence to support its claim or defense. Intel Corp. v. Hartford Accident &
     MEE01-18:1883451_1:2-13-17                  -7-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 13 of 21 Page ID #:248



 1 Indem. Co., 952 F.2d 1551, 1558 (9th Cir.1991). “The mere existence of a scintilla of
 2 evidence in support of the non-moving party’s position is not sufficient[ ]” to defeat
 3 summary judgment. Triton Energy Corp. v. Square D Co., 68 F.3d 1216, 1221 (9th
 4 Cir.1995).
 5            Here, Plaintiff failed to produce any evidence during discovery, and under Rule
 6 37(c)(1), Plaintiff is precluded from relying on evidence that was not “properly
 7 disclosed.” R & R Sails, Inc. v. Ins. Co. of Penn., 673 F.3d 1240, 1246 (9th Cir.2012)
 8 (quoting Hoffman v. Constr. Protective Servs., Inc., 541 F.3d 1175, 1180 (9th Cir.2008)
 9 (quoting Yeti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th
10 Cir.2001))). Rule 37 sanctions are “‘self-executing,’ ‘automatic[,]’” and designed to
11 “provide[ ] a strong inducement for disclosure of material[.]” Yeti by Molly, Ltd., 259
12 F.3d at 1106 (quoting Fed.R.Civ.P. 37 advisory committees note to the 1993
13 amendments (hereinafter “1993 advisory committee’s note”)). The party facing
14 sanctions bears the burden of proving its failure to disclose the required information
15 was substantially justified or is harmless. R & R Sails, Inc., 673 F.3d at 1246 (citing
16 Torres v. City of L.A., 548 F.3d 1197, 1213 (9th Cir.2008)). “Courts have upheld the use
17 of the sanction even when a litigant’s entire cause of action or defense has been
18 precluded.” Yeti by Molly, 259 F.3d at 1106 (citing Ortiz–Lopez v. Sociedad Espanola
19 de Auxilio Mutuo Y Beneficiencia de Puerto Rico, 248 F.3d 29, 35 (1st Cir.2001)).
20            B.       Summary Judgment is Proper Where No Evidence Supports the
21                     Nonmoving Party’s Claims.
22            A party may move for summary judgment on any claim or defense in an action,
23 and is entitled to summary judgment if the movant is entitled to judgment based on the
24 facts where there is no genuine issue of dispute. See Fed. R. Civ. P. 56(a). On an issue
25 where the nonmoving party will bear the burden of proof at trial, the moving party can
26 prevail merely by pointing out to the district court that there is an absence of evidence
27 to support the opposing party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 324-25
28
     MEE01-18:1883451_1:2-13-17                  -8-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 14 of 21 Page ID #:249



 1 (1986). The Ninth Circuit has consistently applied this rule, stating that on a motion for
 2 summary judgment
 3             [w]here the non-moving party bears the burden of proof at trial, the moving
 4            party need only prove there is an absence of evidence to support the non-
 5            moving party’s case. Where the moving party meets that burden, the burden
 6            then shifts to the non-moving party to designate specific facts demonstrating
 7            the existence of genuine issues for trial. This burden is not a light one. The
 8            non-moving party must show more than the mere existence of a scintilla of
 9            evidence. The non-moving party must do more than show that there is some
10            metaphysical doubt as to the material facts at issue. In fact, the non-moving
11            party must come forth with evidence from which a jury could reasonably
12            render a verdict in the non-moving party’s favor. In determining whether a
13            jury could reasonably render a verdict in the non-moving party’s favor, all
14            justifiable inferences are to be drawn in its favor.
15 In re Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010) (internal
16 quotation marks and citations omitted).
17
18
19
20
21
22
23
24
25
26
27
28
     MEE01-18:1883451_1:2-13-17                  -9-
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 15 of 21 Page ID #:250



 1            C.       Evidence Not Produced in Discovery is Inadmissible.
 2            A trial court can only consider admissible evidence in ruling on a motion for
 3 summary judgment. See Fed.R.Civ.P. 56(e); Orr v. Bank of Am., NT & SA, 285 F.3d
 4 764, 773 (9th Cir.2002); Beyene v. Coleman Sec. Servs., Inc., 854 F.2d 1179, 1181 (9th
 5 Cir.1988).
 6            Rule 37(c)(1) forbids the use at trial of any information required to be disclosed
 7 by Rule 26(a) that was is not properly disclosed during discovery. Hoffman, 541 F.3d at
 8 1179 (citing Yeti by Molly, Ltd., 259 F.3d at 1106 (“A party that without substantial
 9 justification fails to disclose information required by Rule 26(a) or 26(e)(1), or to
10 amend a prior response to discovery as required by Rule 26(e)(2), is not, unless such
11 failure is harmless, permitted to use as evidence at a trial, at a hearing, or on a motion
12 any witness or information not so disclosed.” Fed.R.Civ.P. 37(c)(1))).
13
14 IV.        DISCUSSION
15            A.       Legal Standard Governing Copyright Infringement Claims
16            To support a copyright infringement claim, a plaintiff must prove two elements:
17 “(1) ownership of a valid copyright, and (2) copying of constituent elements of the work
18 that are original.” Feist Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361
19 (1991).
20            A plaintiff must prove that it owned a valid copyright to the design at issue at the
21 time the alleged infringement took place. See 17 U.S.C. § 501(b); Giddings v. Vision
22 House Production, Inc., 584 F.Supp.2d 1222, 1228-29 (D. Ariz. 2008). A plaintiff that
23 fails to prove that it owned a valid copyright at the time of the alleged infringement has
24 failed to prove that it has standing to sue. Id. at 1229. Standing is a jurisdictional
25 requirement, and a court must dismiss an action for lack of subject matter jurisdiction if
26 it determines the plaintiff lacks standing. Id.; Lewis v. Casey, 518 U.S. 343, 349 n. 1
27 (1996).
28
     MEE01-18:1883451_1:2-13-17                 - 10 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 16 of 21 Page ID #:251



 1            Proof of copying requires evidence that (1) the alleged infringer had access to the
 2 protected work before creating the accused work and (2) a substantial similarity of
 3 expression exists between the protected and accused works. Narell v. Freeman, 872
 4 F.2d 907, 910 (9th Cir.1989). Plaintiffs rarely possess evidence of direct “copying” so
 5 the courts allow plaintiffs to prove copying by showing that the defendant had access,
 6 and by showing that the two designs are substantially similar. See Three Boys Music
 7 Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000), cert. denied, 531 U.S. 1126 (2000)
 8 (“Absent direct evidence of copying, proof of infringement involves fact-based
 9 showings that the defendant had ‘access’ to the plaintiff’s work and that the two works
10 are ‘substantially similar.’”).
11            The term “access” is defined as “an opportunity to view or copy plaintiff's work.”
12 Id. at 482. In order to show access, Plaintiff must prove that Defendant had such an
13 opportunity. Id. at 483-84. A bare possibility of access is insufficient to sustain a
14 copyright infringement claim. Jason v. Fonda, 698 F.2d 966, 967 (9th Cir.1982).
15            B.       Plaintiff Cannot Meet its Burden of Proof.
16            Because Plaintiff has produced neither documents nor testimony evidence
17 supporting the central elements of its infringement claim, no such evidence is
18 admissible, and the case should be dismissed for failure to prosecute, and/or summary
19 judgment should be granted. Celotex, 477 U.S. at 322-23 (“[The] plain language of
20 Rule 56(c) mandates the entry of summary judgment, after adequate time for discovery
21 and upon motion, against a party who fails to make a showing sufficient to establish the
22 existence of an element essential to that party's case, and on which that party will bear
23 the burden of proof at trial. In such a situation, there can be ‘no genuine issue as to any
24 material fact,’ since a complete failure of proof concerning an essential element of the
25 nonmoving party’s case necessarily renders all other facts immaterial. The moving
26 party is ‘entitled to a judgment as a matter of law’ because the nonmoving party has
27 failed to make a sufficient showing on an essential element of her case with respect to
28 which she has the burden of proof.” (Emphasis added.)).
     MEE01-18:1883451_1:2-13-17                 - 11 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 17 of 21 Page ID #:252



 1                     1.         Plaintiff failed to provide evidence that it is the author or owner
 2                                of the Subject Design during the discovery period.
 3            In order to prevail on its claims of copyright infringement, Star Fabrics must
 4 establish both that it owns a valid copyright for the Subject Design and that Meetu
 5 Magic copied this work. Ninth Circuit Model Jury Instructions 17.4.
 6            With respect to the first element, Star Fabrics has failed to produce any evidence
 7 that it owns a valid copyright. Plaintiff’s counsel has, in similar cases in the past,
 8 included in the complaint the registration number and effective date of the relevant
 9 design’s copyright registration. (Dalton Decl. ¶ 4.) Not so here. The Complaint merely
10 states: “Plaintiff owns an original two-dimensional artwork used for purposes of textile
11 printing entitled 62634 (‘Subject Design’) which has been registered with the United
12 States Copyright Office.” (Compl. ¶ 9.) And despite stating in its discovery responses
13 that documents relating to the Subject Design’s registration would be forthcoming,
14 Plaintiff failed to produce any such documents during the discovery period.
15            “To rebut the presumption [of validity], an infringement defendant must simply
16 offer some evidence or proof to dispute or deny the plaintiff’s prima facie case of
17 infringement.” United Fabrics Int’l, Inc. v. C&J Wear, Inc., 630 F.3d 1255, 1257 (9th
18 Cir. 2011). Here, the only party showing evidence of a valid copyright is Meetu Magic.
19 (Singh Decl. ¶ 4, Exhibit 1.) Its registration certificate demonstrates that the DR06-Q
20 design was authored by Datta Art Design Studio and has been registered by Meetu
21 Magic, Inc.            Plaintiff made no such showing with respect to the Subject Design.
22 Plaintiff did not disclose any evidence to support its allegation that the work is original,
23 or that it was created by a Star Fabrics employee.
24            Having failed to provide evidence during discovery to prove that it owns a valid
25 copyright, Plaintiff will have no admissible evidence to offer at trial, and it cannot prove
26 its case. Orr, 285 F.3d at 773. Summary judgment should be granted.
27
28
     MEE01-18:1883451_1:2-13-17                 - 12 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 18 of 21 Page ID #:253



 1                     2.         Plaintiff has provided no evidence that the Defendants had
 2                                access to the Subject Design.
 3            With respect to the second element, copying may be shown either by direct
 4 evidence, or by proof that: (1) the author of the accused design had access to Plaintiff’s
 5 copyrighted work, and (2) the works are substantially similar. Ninth Circuit Model Jury
 6 Instructions 17.16.               Plaintiff has not produced any direct evidence of copying,
 7 Defendants’ access to the Subject Design, or substantial similarity.
 8            Access is defined as “a reasonable opportunity to view, read, hear, or copy the
 9 plaintiff’s work before the defendant’s work was created.” Id. 17.17. Access can be
10 shown in three ways: (1) by proving “a chain of events connecting the plaintiff’s work
11 and the defendant’s opportunity to view, hear, or copy that work such as dealings
12 through a third party (such as a publisher or record company) that had access to the
13 plaintiff’s work and with whom both the plaintiff and the defendant were dealing,” (2)
14 “the plaintiff’s work being widely disseminated,” or (3) “a similarity between the
15 plaintiff’s work and the defendant’s work that is so ‘striking’ that it is highly likely the
16 works were not created independent of one another.”                  Id. 17.17 Supplemental
17 Instruction.
18            Plaintiff has provided no evidence relating to Defendants’ access to its
19 copyrighted work. And even if it is able to provide such evidence, images of the
20 designs and garments at issue show the designs are not “substantially similar,” but are
21 instead vastly dissimilar. The designs themselves, even without documents evidencing
22 copyright registrations or independent creation, demonstrate that Defendants did not
23 copy Star Fabrics’ purportedly copyrighted work.
24 / / /
25 / / /
26 / / /
27 / / /
28
     MEE01-18:1883451_1:2-13-17                 - 13 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 19 of 21 Page ID #:254



 1            “Subject Design”          Allegedly Infringing Design
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16            As these images demonstrate, although the two designs contain similar elements,
17 the arrangement of those elements is significantly different. The overall look and feel
18 of the designs is so different that any jury is unlikely to conclude that there was copying
19 or that these designs are “substantially similar.” Some specific differences include: (1)
20 Meetu’s design clearly does not have thin white lines running through the otherwise
21 solid black ovals, as shown in the close-up images depicted in the Complaint; (2)
22 Meetu’s dress shows that its large black ovals are surrounded by a thick white border,
23 which does not exist in Plaintiff’s Subject Design; and (3) Meetu’s design includes
24 large black circles, inside of which are black and white shapes configured in a diamond
25 pattern, but these are absent from Plaintiff’s design. These are but a few of the many
26 differences between the two designs. So in addition to the critical fact that Plaintiff has
27 provided no evidence of copying or any defendant’s access to Plaintiff’s design, the
28 parties’ designs provide evidence that no such copying occurred.
     MEE01-18:1883451_1:2-13-17                 - 14 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 20 of 21 Page ID #:255



 1            Because Plaintiff cannot prove the second element of its infringement claim, that
 2 Defendants copied its copyrighted work, summary judgment should be granted.
 3                     3.         Denying this motion would prejudice Defendants.
 4            Having not received any evidence from Plaintiff during discovery, Defendants
 5 cannot evaluate any documents or testimony that Plaintiff would seek to offer at trial,
 6 which prohibits Defendants from mounting a proper defense. Furthermore, even if all
 7 documents responsive to Defendants’ requests were produced immediately, and
 8 Plaintiff offered witnesses for depositions in the very near future, with the April 18,
 9 2017 trial date only two months away, Defendants would have insufficient time to fully
10 analyze the evidence and prepare for trial. Requiring Defendants to proceed to trial in
11 the absence of evidence would prejudice and cause irreparable harm to Defendants.
12 The case should therefore be dismissed for failure to prosecute, and Defendants’
13 summary judgment motion should be granted.
14
15 V.         CONCLUSION
16            Defendants respectfully request that the Court dismiss this case for Plaintiff’s
17 failure to prosecute and grant summary judgment, because: (a) Plaintiff failed to
18 provide evidence of authorship or ownership of the Subject Design during the discovery
19 period and therefore can provide no such evidence at trial; (b) Plaintiff has failed to
20 provide evidence that any Defendant had access to the Subject Design and therefore can
21 provide no such evidence at trial; and (c) the designs at issue are substantially
22 dissimilar.
23
24
25
26
27
28
     MEE01-18:1883451_1:2-13-17                 - 15 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:16-cv-02685-PA-FFM Document 49 Filed 02/13/17 Page 21 of 21 Page ID #:256



1 Dated: February 13, 2017                 CALL & JENSEN
                                           A Professional Corporation
2                                          John T. Egley
                                           Scott P. Shaw
3                                          W. Christopher Dalton
4
5                                          By: /s/ W. Christopher Dalton
                                               W. Christopher Dalton
6
                                           Attorneys for Defendants Burlington Coat
7                                          Factory Direct Corporation and Meetu Magic,
                                           Inc.
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     MEE01-18:1883451_1:2-13-17                 - 16 -
       DEFENDANTS’ NOTICE OF MOTION, MOTION TO DISMISS FOR FAILURE TO PROSECUTE AND MOTION
        FOR SUMMARY JUDGMENT; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
